Case 2:24-mj-01065-ADB                          Document 2                Filed 06/06/24         Page 1 of 1 PageID: 4


DNJ-CR-022 Order Regflrding Use of Video Conferenoiiig^l'eleconfereiiojng (Rev. 06/2022)




                                      UNITED STATES DISTRICT COU1H1
                                     FOR THE DISTRICT OP NEW JERSEY

UNITED STATES OF AMERICA *
                                                                     *

        V.                                           *                               CRIM.NO. J?^- IQ^
                                                                     *

PIDELMAR.SANCHEZ
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                                                                 *+'***

   ORDER REGARmNG USE OF VIDEO CONFERENCINC/TRLECONFERENCING

          In accordance with the operative CO VID-19 Standing Orders, this Court finds:

   /        That the Defendant (or the Juvenile) has consented to the use of video

telecoiiferencing/teleconferencing to conduct the proceed ing(s) held today, after consultation

with counsel; and

The proceedmg(s) held on this date may be conducted by;

   /       Video Teleconferencing

           Teleconferenoing, because video teleconferencing Is not reasonably available for the

following reason;

                     The Defendant (or the Juvenile) is detained at a facility lacking video

         teleconferencing c^p^bility,

                     Other:




Date: Jun 6,2024 /s/ Andrea D- Bergman
                                                                                    Honorable Andrea D. Bergmaii
                                                                                    United States Magistrate Judge
